IN THE UN|TED STATES DlSTR|CT COURT

FoR THE DisTRicT 0F coLoRADo UN|TED Si;AjE§-Di§mm COUR?
DENVER, COLORADO

 

civil Aciion No. os-cv-00487-BNB MAY 13 ma

DERR|CK L. ARANDA, GREGORY C. LANGCl-ll_r;;i
P|aintiff, ' '

v.

LT. lVl. l\flCCORl\/lACl
LT. STRODE,

SGT. P. ADERSON,
LENORD VlGlL,

JllVl WEBBER, and
DON lVlORTON,

Defendants.

 

ORDER DIRECTING PLA|NT|FF TO FlLE AN|ENDED CO|V|PLA|NT

 

Plaintitf, Derrick L. Aranda, is a prisoner in the custody of the Colorado
Department of Corrections (DOC) Who currently is incarcerated at the Colorado State
Penitentiary, in Car”ion City. |Vlr. Aranda has filed pro se a civil rights complaint for
money damages pursuant to 42 U.S.C. § 1983 and 28 U.S.C. § 1343(a)(3). He has
been granted leave to proceed in forma pauperis pursuant to 28 U.S.C. § 1915.

The Court must construe the complaint liberally because Nlr. Aranda is
representing himself. See Haines v. Kernerl 404 U.S. 519, 520-21 (1972); HaH v.
Be”mon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court should not be the
pro se litigant’s advocate See Ha!l, 935 F.Zd at 1110. For the reasons stated below,

Nlr. Aranda will be ordered to tile an amended complaint

lVlr. Aranda alleges that he was sentenced to twenty-five years in the DOC with
the stipulation that he be sent out of state due to custody issues, including threats on
his life by gang members because he testified against them in a high-profile case. He
further alleges that his life has been placed in danger because, although he has been
transferred among various in-state prisons, he has not been transferred out of state and
he been placed in the general prison population, where he was attacked by co-inmates.
He further alleges that in one such attack, he suffered injuries, including a broken nose,
split lip1 and a gash under his eye, all of which required medical treatment He cites to
additional instances When he was attacked at the various in-state correctional
institutions in which he has been housed. On the basis of these allegations, he
contends that his Eighth Amendment rights to be free from cruel and unusual
punishment have been violatedl

lvlr. Aranda’s allegations, Which form the basis for What appears to be one claim
divided into three sections, are difficult to follow because lVlr. Aranda’s handwriting often
is illegible and because l\/lr. Aranda focuses on providing a chronological recitation of
events rather than on asserting only those facts relevant to his asserted claims. The
amended complaint l\/lr. Aranda will be directed to file must comply with the pleading
requirements of Rule 8 of the Federal Rules of Civil Procedure. The twin purposes of a
complaint are to give the opposing parties fair notice of the basis for the claims against
them so that they may respond and to allow the Court to conclude that the allegations,
if proven, show that the plaintiff is entitled to relief. See Monument Builders of

Greafer Kansas City, lnc. v. Amerr'can Cemetery Ass’n of Kansas, 891 F.2d 1473,

1480 (10th Cir. 1989). The requirements of Fed. R. Civ. P. 8 are designed to meet
these purposes See TV Commum'cations Network, Inc. v. ESPN, Inc., 767 F. Supp.
1062, 1069 (D. Co|o. 1991), aff’d, 964 F.2d 1022 (10th Cir. 1992). Specifically, Rule
8(a) provides that a complaint "must contain (1) a short and plain statement ofthe
grounds forthe court’s jurisdiction, . . . (2) a short and plain statement of the claim
showing that the pleader is entitled to relief; and (3) a demand for the relief sought."
The philosophy of Rule 8(a) is reinforced by Rule 8(d)(1), which provides that "[e]ach
allegation must be simple, concise, and direc ." Taken togetherl Rules 8(a) and (d)(1)
underscore the emphasis placed on clarity and brevity by the federal pleading rules.
Prolix, vague, or unintelligible pleadings violate the requirements of Rule 8.

lVlr. Aranda’s complaint is verbose. Nlr. Aranda apparently expects the Court to
figure out who is being sued for What and how his constitutional rights have been
violated That is not the Court’s job. lt is Nlr. Aranda’s responsibility to edit and
organize his claims and supporting allegations into a manageable format. Neither the
defendants nor the Court is required to do this work for him. lVlr. Aranda must assert,
simply and concisely, his specific claims for relief, including the specific rights that
allegedly have been violated and the specific acts of each defendant that allegedly
violated his rights.

ln order for Nlr. Aranda "to state a claim in federal court, a complaint must
explain What each defendant did to him or her; when the defendant did it; how the

defendants action harmed him or her; and, what specific legal right the plaintiff believes

the defendant violated" Nasr'ous v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158,
1163 (10th Cir. 2007).

lVlr. Aranda also must allege exactly What each defendant did to violate his
constitutional rightsl and he must allege which constitutional rights were violated
Personal participation by the named defendants is an essential allegation in a civil
rights action. See Bennett v. Passr'c, 545 F.2d 1260, 1262-63 (10th Cir. 1976) Id. lVlr.
Aranda must show that each defendant caused the deprivation of a federal right. See
Kentucky v. Graham, 473 U.S. 159l 166 (1985). There must be an affirmative link
between the alleged constitutional violation and each defendants participation, control
or direction, or failure to supervise See Butfer v. City of Norman, 992 F.2d 1053,
1055 (10th Cir. 1993). A defendant may not be held liable merely because of his or her
supervisory position. See Pembaur v. City of Cincinnati, 475 U.S. 469, 479 (1986);
McKee v. Heggy, 703 F.2d 479, 483 (10th Cir. 1983).

A decision to dismiss a complaint pursuant to Rule 8 is Within the trial court's
sound discretion See Atkins v. Northwest Ar'riines, Inc., 967 F.2d 1197, 1203 (8th
Cir. 1992); Gilfr'beau v. City of Richmond, 417 F.2d 426, 431 (9th Cir. 1969). The
Court finds that the complaint does not meet the requirements of Fed. R. Civ. P. 8 and
that lv'lr. Aranda should be given an opportunity to file an amended complaint He will
be directed to do so belovv. )€\ccording|y1 it is

ORDERED that lVlr. Aranda file within thirty (30) days from the date of this
order an amended complaint that complies with the pleading requirements of Fed. R.

Civ. P. 8 as discussed in this order. lt is

FURTHER ORDERED that the amended complaint shall be titled "Amended
Prisoner Complaint,” and shall be filed With the C|erk of the Court, United States District
Court for the District of Colorado, Alfred A. Arraj United States Courthouse, 901
Nineteenth Street, A105, Denverr Colorado 80294. lt is

FURTHER ORDERED that the clerk of the Court mail to |Vlr. f-\randal together
with a copy of this order1 two copies of the following form to be used in submitting the
amended complaint Prisoner Compiaint. lt is

FURTHER ORDERED thatl if lVlr. Aranda fails to file an amended complaint that
complies With this order to the Court’s satisfaction within the time allowed the complaint
and the action will be dismissed Without further notice.

DATED lVlay 13, 2008, at Denver, Colorado.

BY THE COURT:

s/ Bovd N. Boland
United States l\/lagistrate Judge

|N THE UN|TED STATES D|STRICT COURT
FOR THE D|STR|CT OF COLORADO

CERT|F|CATE OF MA|L|NG

Civil Action No. 08-cv-00487-BNB

Derrick L. Aranda

Reg. No. 99396

Colorado State Penitentiary
PO Box 777

Car"ion City, CO 81215

l hereby certify that l have mailed a copy of the ORD R and two copies of
Prisoner Comp|aint to the above-named individuals on l
GREGORY C. LANGHA|VI, CLERK

By: Q/?'!O(;

Deputyv Clerk

